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                                    Notice
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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

                                                                         PROMESA
    In re:                                                               Title III
    THE FINANCIAL OVERSIGHT AND                                          No. 17 BK 3283-LTS
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                                         (Jointly Administered)
             as representative of
                                                                         This filing relates to the
    THE COMMONWEALTH OF PUERTO RICO, et                                  Commonwealth, HTA, and
    al.,                                                                 ERS.
                                    Debtors.



    NOTICE OF HEARING AS TO CERTAIN CLAIMS SUBJECT TO THE ONE
 HUNDRED FORTY-SECOND OMNIBUS OBJECTION (NON-SUBSTANTIVE) OF
 THE COMMONWEALTH OF PUERTO RICO, PUERTO RICO HIGHWAYS AND
TRANSPORTATION AUTHORITY, AND EMPLOYEES RETIREMENT SYSTEM OF
    THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO TO
DEFICIENT CLAIMS ASSERTING INTERESTS BASED ON UNSPECIFIED PUERTO
                          RICO STATUTES

        PLEASE TAKE NOTICE THAT, on January 14, 2020, the Commonwealth of Puerto
Rico (the “Commonwealth”), Puerto Rico Highways and Transportation Authority (“HTA”),
and Employees Retirement System of the Government of the Commonwealth of Puerto Rico
(“ERS,” collectively with the Commonwealth and HTA, the “Debtors”), by and through the
Financial Oversight and Management Board for Puerto Rico (the “Oversight Board”), as the
representative of the Commonwealth and ERS pursuant to Section 315(b) of the Puerto Rico
Oversight, Management, and Economic Stability Act (“PROMESA”),1 filed the One Hundred
Forty-Second Omnibus Objection (Non-Substantive) of the Commonwealth of Puerto Rico,
Puerto Rico Highways and Transportation Authority, and Employees Retirement System of the
Government of the Commonwealth of Puerto Rico to Deficient Claims Asserting Interests Based
on Unspecified Puerto Rico Statutes (the “Omnibus Objection”) with the United States District
Court for the District of Puerto Rico (the “Court”). 2

        PLEASE TAKE FURTHER NOTICE THAT, on October 20, 2020, the Debtors filed
the Notice of Presentment of Proposed Order (A) Granting in Part the One Hundred Forty-
Second Omnibus Objection (Non-Substantive) of the Commonwealth of Puerto Rico, Puerto Rico
Highways and Transportation Authority, and Employees Retirement System of the Government
of the Commonwealth of Puerto Rico to Deficient Claims Asserting Interests Based on

1
    PROMESA is codified at 48 U.S.C. §§ 2101-2241.
2 Capitalized terms used but not defined herein shall have the meanings set forth in the Omnibus Objection.


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Unspecified Puerto Rico Statutes, (B) Approving Form of Notice, and (C) Granting Related
Relief (the “Notice of Presentment”) with the Court.

        PLEASE TAKE FURTHER NOTICE THAT if your claim(s) is/are listed on Exhibit
A to the Notice of Presentment, a hearing will be held on your claim(s) on November 18, 2020
at 9:30AM (Atlantic Time) (the “November 18 Satellite Hearing”). You may participate in the
hearing by going to the Prime Clerk collection center located at Citi Towers, 250 Ponce de
León Ave., Suite 503, Hato Rey, San Juan, PR 00918 (the “Satellite Site”). You should
complete and return the claimant response form (the “Response Form”), attached to this Notice
of Hearing as Attachment 1, to indicate whether you intend to attend the November 18 Satellite
Hearing.

                                          KEY POINTS

   •    PLEASE CHECK IF YOUR CLAIM(S) IS/ARE LISTED ON EXHIBIT A TO
        THE NOTICE OF PRESENTMENT.

   •    If your claim(s) is/are listed on Exhibit A to the Notice of Presentment, a hearing
        regarding your claim(s) against the Commonwealth, HTA, or ERS has been scheduled
        for November 18, 2020 at 9:30 a.m. (Atlantic Time). To indicate whether you intend
        to attend the November 18 Satellite Hearing, please complete and return the Response
        Form attached to this Notice of Hearing as Attachment 1.

   •    If your claim(s) is/are listed on Exhibit B to the Notice of Presentment, your claim(s)
        will be transferred into either the alternative dispute resolution or the administrative
        claims reconciliation process, and you DO NOT need to appear at the November 18
        Satellite Hearing.

   •    Copies of the Notice of Presentment, the Omnibus Objection, and all other filings in
        the Title III Cases are available free online at https://cases.primeclerk.com/puertorico.

   •    If you have questions, please contact Prime Clerk LLC at (844) 822-9231 (toll free
        for U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available
        10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available).



        November 18 Satellite Hearing on the Omnibus Objection. If your claim is listed on
Exhibit A to the Notice of Presentment, a hearing will be held on the Omnibus Objection as to
your claim at 9:30 a.m. (Atlantic Time) on November 18, 2020, before The Honorable Laura
Taylor Swain of the United States District Court for the District of Puerto Rico. You may
appear and speak at the hearing from the Prime Clerk collection center located at Citi
Towers, 250 Ponce de León Ave., Suite 503, Hato Rey, San Juan, PR 00918.

        If your claim is listed on Exhibit B to the Notice of Presentment, your claim will be
transferred into either the alternative dispute resolution procedure or the administrative claims


                                                 2
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reconciliation process. If your claim is listed on Exhibit B, YOU DO NOT NEED TO
APPEAR AT THE NOVEMBER 18 SATELLITE HEARING.

         Availability of Interpretation Services at November 18 Satellite Hearing. For any
claimant that may require Spanish-language interpretation services, the Debtors will provide a
certified Spanish-language interpreter at the Satellite Site. Each claimant is also free to bring to
the hearing, at his or her own expense, a certified Spanish-English interpreter if such claimant
does not wish to utilize the services of the interpreter provided by the Debtors.

         Response Forms to Be Submitted Prior to the November 18 Satellite Hearing. To
assist in preparing for and managing traffic flow at the Satellite Site, any party whose claim is
listed on Exhibit A to the Notice of Presentment should submit the Response Form. The
Response Form will provide the Debtors and the Court staff important information regarding
which claimants intend to appear at the Satellite Hearing, whether claimants intend to bring their
own interpreters to the Satellite Hearing or to rely on the interpreter provided by the Debtors, and
whether claimants intend to submit additional supporting documentation in connection with their
claim at the Satellite Hearing.

      Response Forms should be submitted to Prime Clerk by 4:00 p.m. (Atlantic Time) on
November 10, 2020. You may submit your Response Form to Prime Clerk by email and/or
mail.

       Email: puertoricoinfo@primeclerk.com
       Mailing Address: Commonwealth of Puerto Rico Claims Processing Center
                          c/o Prime Clerk LLC
                          850 Third Avenue
                          Suite 412
                          Brooklyn, NY 11232.

        Additional Documentation in Support of Your Claim(s). If you wish to present any
additional documentation in support of your claim at the November 18 Satellite Hearing, you
must submit that documentation with your Response Form.

        Safety Procedures at the Satellite Site. A maximum of eight people, including staff,
claimants, claimants’ attorneys, and interpreters, will be allowed inside the Satellite Site at any
given time. One Prime Clerk staff member will be present inside the Satellite Site to assist in
managing traffic flow inside the Satellite Site. Additional Prime Clerk personnel will be
available at the facility to assist claimants outside the premises, in the lobby, or in the hallways,
as necessary, but to reduce congestion and prevent the spread of disease within close quarters,
will not be physically present within the Satellite Site.

       Face masks are mandatory while inside the Satellite Site.
         The Satellite Site contains three rooms, each of which may contain a claimant, along with
their attorney and either the Debtors’ or the claimant’s interpreter. The Prime Clerk staff
member onsite will assist with directing you to one of the three rooms when it is your turn to
speak.

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        Each of the three rooms inside the Satellite Site will be equipped with a conference phone
with speaker phone capabilities. The conference phones will be dialed in to the main court
hearing line. Claimants will not need to touch this conference phone in order to speak and be
heard. The Prime Clerk staff member will assist. All frequently touched surfaces, such as tables
or chair arms, will be sanitized in between use.

       If you have any questions about this Notice of Hearing, about the November 18Satellite
Hearing, or about the Response Form, please contact the Prime Clerk hotline at (844) 822-9231.



                  Additional Resources and Who to Contact with Questions

All documents filed in the Title III Cases, including copies of claims filed using CM/ECF, are
available free online at https://cases.primeclerk.com/puertorico. This website is maintained by
Prime Clerk and includes a searchable database to assist with locating documents.

If you require additional information regarding the Notice of Presentment, the status of your
response, your claim, this notice, or your Response Form, please contact the Prime Clerk hotline
at (844) 822-9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for international callers),
available 10:00 a.m. to 7:00 p.m. (Atlantic Time) (Spanish available). Inquiries may also be sent
via email to puertoricoinfo@primeclerk.com.




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                                 Attachment 1
             Claimant Response Form for November 18 Satellite Hearing
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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

  In re:                                                         PROMESA
                                                                 Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,                              No. 17 BK 3283-LTS

           as representative of                                  (Jointly Administered)

  THE COMMONWEALTH OF PUERTO RICO, et al.,

                                  Debtors. 1

                    RESPONSE FORM FOR CLAIMS TO BE HEARD
                  AT THE NOVEMBER 18, 2020 SATELLITE HEARING

Claim Number(s): ________________________________________
Claimant(s): _____________________________________________
Attorney Name (if applicable): ___________________________________________

Best Contact Information for Claimant:
Address: _____________________________________________________
Telephone Number: ________________________________________
Email Address: ____________________________________________

                                     [Additional pages follow]




1 The Debtors in these Title III Cases, along with each Debtor’s respective Title  III case number
and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK 3283-
LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
(“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
(iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK
3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-
LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
(“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
and (vi) Puerto Rico Public Buildings Authority (“PBA”, and together with the Commonwealth,
COFINA, HTA, ERS, and PREPA, the “Debtors”) (Bankruptcy Case No. 19-BK-5532-LTS) (Last
Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case
numbers due to software limitations).
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                     Please respond to the following questions by answering
                                           -Yes or No -
                                on the line next to the question.
   I.     Attendance
           I will attend the November 18 Satellite Hearing.
           I will not attend the November 18 Satellite Hearing.



   II.    Interpreter Services
           I do not need an interpreter.
          I do need an interpreter, and I intend to use the interpreter provided by the Debtors.
           I do need an interpreter, but I intend to bring my own certified Spanish-English
   interpreter.


   III.   Documents and Information
           I have attached additional documentation in support of my claim(s) to this Response
           Form.
           I do not have any additional documentation that I intend to use in support of my
            claim(s) at the November 18 Satellite Hearing beyond what I previously included with
          my      claim(s) and what I filed with my response to the Omnibus Objection.


                          [Signature of the Claimant or the Claimant’s Authorized Representative]

                                                       By:
                                                                                  [Printed Name]
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                                   Anexo C

                                  Notificación
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                      TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                           PARA EL DISTRITO DE PUERTO RICO

                                                                        PROMESA
    In re:                                                              Título III
    JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN                               Núm. 17 BK 3283-LTS
    FINANCIERA PARA PUERTO RICO,
                                                                        (Administrado Conjuntamente)
             como representante del
                                                                        La presente radicación guarda
    ESTADO LIBRE ASOCIADO DE PUERTO RICO et                             relación con el ELA, la ACT y
    al.,                                                                el SRE.
                                     Deudores.



     NOTIFICACIÓN DE VISTA SOBRE DETERMINADAS RECLAMACIONES
RELATIVAS A LA CENTÉSIMA CUADRAGÉSIMA SEGUNDA OBJECIÓN GLOBAL
  (NO SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO, DE LA
 AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y DEL
SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE
   ASOCIADO DE PUERTO RICO A RECLAMOS DEFICIENTES EN LOS QUE SE
ALEGAN INTERESES SOBRE LA BASE DE UNAS LEYES PUERTORRIQUEÑAS NO
                           ESPECIFICADAS

         SEPA POR LA PRESENTE QUE el 14 de enero de 2020, el Estado Libre Asociado de
Puerto Rico (el "ELA"), la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT")
y el Sistema de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico
(el "SRE", y junto con el ELA y la ACT, los "Deudores"), a través de la Junta de Supervisión y
Administración Financiera para Puerto Rico (la "Junta de Supervisión"), como representante del
ELA y del SRE conforme a la sección 315(b) de la Ley para la Supervisión, Administración y
Estabilidad Económica de Puerto Rico ("PROMESA"),1 radicaron la Centésima cuadragésima
segundaobjeción global (no sustantiva) del Estado Libre Asociado de Puerto Rico, de la
Autoridad de Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de los
Empleados del Gobierno del Estado Libre Asociado de Puerto Rico a Reclamos deficientes en
los que se alegan intereses sobre la base de unas leyes puertorriqueñas no especificadas (la
"Objeción Global") ante el Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto
Rico (el "Tribunal"). 2

       SEPA, ADEMÁS, QUE el 20 de octubre de 2020, los Deudores radicaron la
Notificación de Presentación de una orden propuesta que A) conceda en parte la Centésima

1
    PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101-2241.
2 Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán el significado que

les haya sido atribuido en la Objeción Global.

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cuadragésima segunda objeción global (no sustantiva) del Estado Libre Asociado de Puerto
Rico, de la Autoridad de Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de
los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico a Reclamos deficientes
en los que se alegan intereses sobre la base de unas leyes puertorriqueñas no especificadas, B)
apruebe formulario de notificación y C) conceda el remedio relacionado (la "Notificación de
Presentación") ante el Tribunal.

        ASIMISMO, SEPA QUE si su(s) reclamación(es) aparece(n) en el Anexo A de la
Notificación de Presentación, se celebrará una vista sobre su(s) reclamación(es) el 18 de
Noviembre de 2020, a las 9:30 a.m. (Hora del Atlántico) (la “Vista Satélite de 18 de
Noviembre”). Usted puede participar en la vista yendo al centro de entregas (collection center)
del Prime Clerk ubicado en Citi Towers, 250 Ave. Ponce de León, Oficina 503, Hato Rey, San
Juan, PR 00918 (la "Ubicación Satélite"). Debe cumplimentar y devolver el formulario de
réplica del reclamante (el "Formulario de Réplica"), adjunto a la presente Notificación de Vista
como Documento Adjunto 1, para indicar su intención de asistir a la Vista Satélite de 18 de
Noviembre.

                           PRINCIPALES CONSIDERACIONES

   •    COMPRUEBE SI SU(S) RECLAMACIÓN(ES) APARECE(N) EN EL LISTADO
        DEL ANEXO A DE LA NOTIFICACIÓN DE PRESENTACIÓN.

   •    Si su(s) reclamación(es) aparece(n) en el Anexo A de la Notificación de Presentación,
        se ha programado una vista sobre su(s) reclamación(es) contra el ELA, la ACT o el
        SRE que se celebrará el 18 de Noviembre de 2020, a las 9:30 a.m. (Hora del Atlántico).
        Para indicar si tiene intenciones de asistir a la Vista Satélite de 18 de Noviembre,
        cumplimente y devuelva el Formulario de Réplica adjunto a la presente Notificación de
        Vista como Documento Adjunto 1.

   •    Si su(s) reclamación(es) aparece(n) en el Anexo B de la Notificación de Presentación,
        estas será(n) trasladada(s) al proceso de resolución alternativa de controversias o al de
        reconciliación de reclamaciones administrativas, por lo que usted NO tendrá que
        comparecer durante la Vista Satélite de 18 Noviembre.

   •    Copias de la Notificación de Presentación, de la Objeción Global y de todos los
        escritos radicados en el marco de los Casos de Título III, están disponibles, de manera
        gratuita, en https://cases.primeclerk.com/puertorico.

   •    Si tiene alguna pregunta, comuníquese con Prime Clerk LLC llamando al (844)
        822-9231 (número gratuito para Estados Unidos y Puerto Rico) o (646) 486-7944
        (para llamadas desde el extranjero), disponible entre las 10:00 a.m. y las 7:00 p.m.
        (Hora del Atlántico) (hablamos español).



       Vista Satélite de 18 de Noviembre sobre la Objeción Global. Si su reclamación
aparece en el Anexo A de la Notificación de Presentación, se celebrará una vista sobre la

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Objeción Global relativa a su reclamación a las 9:30 a.m. (Hora del Atlántico) del 18 de
Noviembre de 2020 ante la Honorable Laura Taylor Swain en el Tribunal de Distrito de los
Estados Unidos para el Distrito de Puerto Rico. Usted puede aparecer y hablar en la vista
desde el centro de entregas (collection center) de Prime Clerk ubicado en Citi Towers, 250
Ave. Ponce de León, Oficina 503, Hato Rey, San Juan, PR 00918.

        Si su reclamación aparece en el Anexo B de la Notificación de Presentación, esta será
trasladada al proceso de resolución alternativa de controversias o al de reconciliación de
reclamaciones administrativas. Si su reclamación aparece en el Anexo B, USTED NO
TENDRÁ QUE COMPARECER DURANTE LA VISTA SATÉLITE DE 18 DE
NOVIEMBRE.

        Disponibilidad de servicios de interpretación durante la Vista Satélite de 18 de
Noviembre. Si algún reclamante necesita servicios de interpretación al español, los Deudores
proporcionarán los servicios de interpretación al español en la Ubicación Satélite. Cada
reclamante también está en libertad de traer un intérprete certificado de inglés-español, pagado
por dicho reclamante, si no desea hacer uso de los servicios de interpretación proporcionados por
los Deudores.

        Formularios de Réplica que han de radicarse antes de la Vista Satélite de 18 de
Noviembre. Para ayudar con el proceso de preparación y gestión del flujo de personas en la
Ubicación Satélite, todas las partes cuya reclamación aparezca en el Anexo A de la Notificación
de Presentación deberán radicar el Formulario de Réplica. El Formulario de Réplica brindará a
los Deudores y al personal del Tribunal información importante sobre cuáles reclamantes tiene la
intención de comparecer durante la Vista Satélite, si los reclamantes piensan traer sus propios
intérpretes a la Ubicación Satélite o si harán uso de los servicios prestados por los/las intérpretes
que los Deudores proporcionen, y si los reclamantes piensan radicar documentación justificativa
adicional en relación con su reclamación durante la Vista Satélite.

       Los Formularios de Réplica deberán enviarse a Prime Clerk antes de las 4:00 p.m. (Hora
del Atlántico) del 10 de Noviembre de 2020. Podrá presentar sus Formularios de Réplica a
Prime Clerk por correo electrónico y/o correo postal.

       Correo Electrónico: puertoricoinfo@primeclerk.com
       Correo Postal:      Commonwealth of Puerto Rico Claims Processing Center
                           c/o Prime Clerk LLC
                           850 Third Avenue
                           Suite 412
                           Brooklyn, NY 11232.

        Documentación adicional en apoyo de su(s) reclamación(es). Si desea radicar
cualquier documentación adicional en apoyo de su reclamación durante la Vista Satélite de
Octubre, deberá radicar dicha documentación con su Formulario de Réplica.

        Procedimientos de seguridad en la Ubicación Satélite. Se permitirá, en todo momento,
la presencia de un máximo de ocho personas, incluido el personal, los reclamantes, los abogados
de los reclamantes y los intérpretes, en el interior de la Ubicación Satélite. Un miembro del

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personal de Prime Clerk estará presente en el interior de la Ubicación Satélite para ayudar con el
movimiento de personas en el interior de dicha ubicación. Habrá personal adicional de Prime
Clerk en las instalaciones para ayudar a los reclamantes en el exterior de los predios, en el
recibidor o en los pasillos, según sea necesario, aunque para reducir congestiones y evitar la
propagación de enfermedades por aglomeraciones, dicho personal no estará físicamente presente
en el interior de la Ubicación Satélite.

      El uso de las mascarillas es obligatorio en el interior de la Ubicación
Satélite.
         La Ubicación Satélite cuenta con tres salas, dentro de las cuales podrá estar un
reclamante junto con sus abogados y el intérprete proporcionado por los Deudores o el del
reclamante. El integrante del personal de Prime Clerk presente le estará dirigiendo hacia una de
las tres salas cuando sea su turno para hablar.

         Cada una de las tres salas en el interior de la Ubicación Satélite estará equipada con un
teléfono para conferencias con parlantes. Estos teléfonos se conectarán con la línea principal de
la vista del tribunal. Los reclamantes no tendrán que tocar dichos teléfonos para poder hablar y
que se les escuche. El personal de Prime Clerk les estará asistiendo. Todas las superficies que se
toquen con frecuencia (por ejemplo, las mesas o los brazos de las sillas) se desinfectarán luego
de cada uso.

       Si tiene alguna pregunta sobre la presente Notificación de Vista, sobre la Vista Satélite de
18 de Noviembre o sobre el Formulario de Réplica, comuníquese con Prime Clerk llamando al
número directo (844) 822-9231.



       Recursos adicionales y con quién comunicarse en caso de que tenga preguntas

Todos los documentos radicados en el marco de los Casos de Título III, incluyendo copias de las
reclamaciones radicadas utilizando CM/ECF, se encuentran disponibles en línea de manera
gratuita, en https://cases.primeclerk.com/puertorico. El mantenimiento de dicho sitio web lo
realiza Prime Clerk; el sitio web incluye una base de datos que permite efectuar búsquedas y que
ayuda a localizar documentos.

Para obtener información adicional sobre la Notificación de Presentación, el estado de su réplica,
su reclamación, la presente notificación o su Formulario de Réplica, comuníquese con Prime Clerk
llamando a su número directo (844) 822-9231 (número gratuito para Estados Unidos y Puerto
Rico) o al (646) 486-7944 (para llamadas desde el extranjero), disponibles entre las 10:00 a.m. y
las 7:00 p.m. (Hora del Atlántico) (hablamos español). También podrá enviar consultas a la
siguiente dirección de correo electrónico: puertoricoinfo@primeclerk.com.




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                                Documento Adjunto 1
  Formulario de Réplica del Reclamante relativo a la Vista Satélite de 18 de Noviembre
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                 TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                      PARA EL DISTRITO DE PUERTO RICO

  In re:                                                         PROMESA
                                                                 Título III
  JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
  FINANCIERA PARA PUERTO RICO,                                   Núm. 17 BK 3283-LTS

           como representante del                                (Administrado
                                                                 Conjuntamente)
  ESTADO LIBRE ASOCIADO DE PUERTO RICO et al.,

                                 Deudores. 1

    FORMULARIO DE RÉPLICA RELATIVO A LAS RECLAMACIONES QUE SE
      ATENDERÁN DURANTE LA VISTA SATÉLITE DE 18 DE NOVIEMBRE

Número(s) de reclamación: ________________________________________
Reclamante(s): __________________________________________________
Nombre del abogado (en su caso): ________________________________________

Información de contacto más adecuada del Reclamante:
Dirección: ________________________________________________________
Número de teléfono: __________________________________________
Dirección de correo electrónico: _________________________________

                                    [Siguen páginas adicionales]


1 Los Deudores en estos Casos de Título III, junto con el respectivo número de caso de Título     III
y los últimos cuatro (4) dígitos del número de identificación federal de contribuyente de cada
Deudor, en su caso, son: i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de Quiebra
Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación federal de contribuyente:
3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA") (Caso de
Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación federal de
contribuyente: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT")
(Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación federal de
contribuyente: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado Libre
Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos cuatro
dígitos de la identificación federal de contribuyente: 9686); v) la Autoridad de Energía Eléctrica
de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro dígitos de
la identificación federal de contribuyente: 3747); y vi) la Autoridad de Edificios Públicos de Puerto
Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los "Deudores") (Caso
de Quiebra Núm. 19-BK-5532-LTS) (Últimos cuatro dígitos de la identificación federal de
contribuyente: 3801) (Los números de los casos de Título III están enumerados como números de
casos de quiebra debido a ciertas limitaciones en el programa informático).

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Case:17-03283-LTS Doc#:14694-3 Filed:10/20/20 Entered:10/20/20 17:20:01                          Desc:
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                           Responda a las siguientes preguntas contestando
                                                -Sí o No -
                           utilizando la línea al lado de la propia pregunta.
   IV.       Asistencia
              Asistiré a la Vista Satélite de 18 de Noviembre.
              No asistiré a la Vista Satélite de 18 de Noviembre.



   V.        Servicios de interpretación
              No necesito intérprete.
         Necesito intérprete y deseo hacer uso del/de la intérprete proporcionado/a por los
   Deudores.
             Necesito intérprete, pero deseo traer a mi propio/a intérprete certificado a/ de español e
   inglés.


   VI.       Documentos e información
           He adjuntado al presente Formulario de Réplica documentación adicional en apoyo de
   mi(s) reclamación(es)
          No tengo documentación adicional que desee utilizar en apoyo de mi(s)
         reclamación(es) durante la Vista Satélite de 18 de Noviembre más allá de la que ya haya
         adjuntado a mi(s) reclamación(es) y la que haya radicado con mi réplica a la Objeción
         Global.

                               [Firma del Reclamante o del representante autorizado del Reclamante]

                                                          Por:
                                                                         [Nombre en letra de molde]




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